                        UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF NORTH CAROLINA
                             File No. 1:12-CV-1349


UNITED STATES OF AMERICA,            )
          Plaintiff,                 )
                                     ) BRIEF IN SUPPORT OF
                    v.               ) MOTION TO COMPEL
                                     ) DISCOVERY
TERRY S. JOHNSON, in his official    )
capacity as Alamance County Sheriff, )
              Defendant.             )
_______________________________________________________________________

       Defendant, Terry S. Johnson, in his official capacity as Alamance County Sheriff,

has moved for a Motion to Compel Discovery pursuant to Rule 37(d) of the Federal Rules

of Civil Procedure and LR 37.1 and files this Brief in support thereof .

                  STATEMENT OF THE NATURE OF THE MATTER

       This is an action brought by the United States of America seeking declaratory and

injunctive relief under Section 14141 of the Violent Crime Control and Law Enforcement

Act of 1994, 42 U.S.C. § 14141, filed on December 20, 2012. (Comp. ¶ 1). The

Complaint alleges that the Defendant and his department unlawfully discriminate against

Latinos in Alamance County by targeting them for investigation, detention, and arrest.

(Comp. ¶ 3). Plaintiff alleges that the discriminatory policing activities of the Defendant

date to at least January 2007. (Comp. ¶ 23). Along with other allegations, the Plaintiff

alleges that the Defendant discriminates against Latinos by automatically referring them

to ICE Investigators at the Alamance County Jail. (Comp. ¶’s 47-51). The Defendant has




      Case 1:12-cv-01349-TDS-JLW Document 25 Filed 05/31/13 Page 1 of 8
filed an Answer [Doc. # 6] to the Complaint.

       A Joint Rule 26(f) Report has been filed by the parties [Doc. # 8], and an Order

Approving Joint Rule 26(f) Report has been entered [Doc. # 9]. Further, a Stipulation

and Order Regarding Discovery has been entered by the Court [Doc. # 16]. In addition, a

Joint Confidentiality and Protective Order has been entered by the Court [Doc. # 18].

                               STATEMENT OF THE FACTS

       The parties have begun discovery pursuant to the Joint Rule 26(f) Report and Order

approving the Report. The Defendant sent a First Set of Interrogatories to the Plaintiff on March

21, 2012. (Attached to Motion to Compel.) The Plaintiff filed a response to the interrogatories

on April 24, 2013. (Attached to Motion to Compel.) In the Response the Plaintiff did not

adequately respond to Interrogatories numbered 14, 15, and 16. The Plaintiff has claimed an

Informant’s Privilege as to each of the interrogatories. The parties held a LR 37.1 telephone

conference on May 2, 2013. Following the conference, the Plaintiff supplemented its answer to

Interrogatory number 16. (Attached to Motion to Compel.) The Plaintiff in its supplement

continues to claim an Informant’s Privilege and refuses to provide the information requested in

the interrogatory.

                                  QUESTIONS PRESENTED

       I.      DOES THE INFORMANT PRIVILEGE PROTECT THE UNITED STATES
               FROM BEING REQUIRED TO ANSWER INTERROGATORIES?

       II.     SHOULD THE UNITED STATES BE REQUIRED TO ANSWER THE
               INTERROGATORIES OF THE DEFENDANT?




                                               -2-




       Case 1:12-cv-01349-TDS-JLW Document 25 Filed 05/31/13 Page 2 of 8
                                          ARGUMENT

       I. The informant privilege does not protect the United States from being required to

answer interrogatories.

       The Plaintiff, United States of America, has refused to adequately answer three of the

Interrogatories propounded by the Defendant on the ground that it is not required to produce the

discovery information due to the Informant Privilege. The burden to establish that a privilege

applies is on the party invoking the privilege. U.S. v. Bornstein, 977 F.2d 112, 116 (4th Cir.

1992). The three interrogatories read as follows:

       14. Identify the location, deputy, and persons stopped at the traffic stop, as alleged

in Paragraph 33(a) of the Complaint, where a deputy told a Latina passenger, “Mexican

go home!”

       15. Identify the deputy and the parents where the deputy allegedly told the parents

to fix a window, “or we’re going to come back and deport you all”, as alleged in

Paragraph 33(c) of the Complaint.

       16. Identify each occasion by date, location, and persons present that an Alamance

County detention officer used the terms “wetback” and “spic” to refer to Latino

individuals in custody as alleged in paragraph 33(d) of the Complaint.

       It should initially be noted that the Defendant did not request the identity of any

confidential informants. The three interrogatories simply seek to ascertain the persons

present, and in two of the interrogatories, the specific date of allegations made in


                                                -3-




       Case 1:12-cv-01349-TDS-JLW Document 25 Filed 05/31/13 Page 3 of 8
Plaintiff’s Complaint. The Defendant would not even be aware that there had been a

confidential informant except that the Plaintiff has indicated in its response to the

interrogatories that a confidential informant is the source of the information in the

Complaint.

        It should also be noted that there is a confidentiality order in place to protect any

confidential information disclosed in interrogatories. Only the Defendant and his

attorneys would be privy to the information.

       Moreover, Rule 501 of the Federal Rules of Evidence governs privileges. The

Rule states in pertinent part:

           The common law – as interpreted by United States courts in light of
           reason and experience – governs a claim of privilege ...

       The Fourth Circuit has considered the Informant’s Privilege in civil cases in U.S. v.

Hemphill, 369 F.2d 539 (4th Cir. 1966). In that case, the United States refused to answer

interrogatories based on the Informant’s Privilege. The Fourth Circuit rejected the claim

of the United States and stated that:

           [W]hen the United States, a cabinet official, or an agency of the
           United States comes into the Court as a plaintiff, they are subject to
           the same rules as private litigants, and the open disclosure which is
           now demanded of litigants in the federal courts, because of its
           fairness and its contribution to accuracy in the factfinding process, is
           equally demanded of such plaintiffs.

Id. at 542. In accord, Brown v. U.S., 58 F.R.D. 599 (D.S.C. 1973) (quoting Hemphill).

       The Fourth Circuit in Hemphill went on to find that all the relevant information

                                              -4-




      Case 1:12-cv-01349-TDS-JLW Document 25 Filed 05/31/13 Page 4 of 8
had already been furnished to the Defendant and no further action was necessary. In the

case at bar, the Defendant is left in a situation where the Plaintiff has made allegations in

its Complaint, but the Defendant is unable to find out who the deputies were who

allegedly violated someone’s rights, is unable to determine whose rights were allegedly

violated, or when the violations allegedly occurred. In short, the Defendant is totally

unable to investigate the allegations of the Plaintiff in any meaningful way or to prepare

his defense to these allegations.

       An Informant’s Privilege cannot be used in a civil case in the Fourth Circuit to

avoid answering interrogatories where the United States is the plaintiff. This is the

established common law in this circuit as stated in Hemphill.

      II. The United States should be required to answer the interrogatories of the
Defendant.

       A. Scope of Discovery.

       This Court has considered the proper scope of discovery. In Kinetic Concepts, Inc.

v. ConvaTec Inc., 268 F.R.D. 226, 238-39 (M.D.N.C. 2010), the Court stated:

                 “The purpose of discovery is to provide a mechanism for
          making relevant information available to the litigants.” Fed.R.Civ.P.
          26 advisory committee's notes, 1983 Amendment. Accordingly,
          under the Federal Rules of Civil Procedure (the “Rules”), “[u]nless
          otherwise limited by court order, ... [p]arties may obtain discovery
          regarding any nonprivileged matter that is relevant to any party's
          claim or defense ....” Fed.R.Civ.P. 26(b)(1) (emphasis added).
          “Relevant information need not be admissible at the trial if the
          discovery appears reasonably calculated to lead to the discovery of
          admissible evidence.” Id.

                                             -5-




      Case 1:12-cv-01349-TDS-JLW Document 25 Filed 05/31/13 Page 5 of 8
       Each of the three interrogatories which the United States has failed to answer is

directly relevant to the case at hand. In fact, each of the three interrogatories directly

correspond to allegations made by the United States in the Complaint. Interrogatories

numbered 14, 15, and 16 relate directly to the allegations in Paragraphs 33 (a), (c), and (d)

respectively. As noted above, not only is the information sought relevant, without this

information, the Defendant is unable to prepare a defense to these allegations as deputies

involved, the parties involved, and the date of the allegations are unknown. The

Defendant does recognize that a type of answer was provided by the United States. In

response to each interrogatory, the United States does say that the deputy who is involved

in each allegation has information relevant to the answer. However, this answer is totally

nonresponsive. Each interrogatory directed the United States is to identify the deputy

involved, so information could be gathered from him or her. Without knowing the

identity of the deputies involved, directing the Defendant to an unnamed deputy is

nonsensical.

       Further, as also noted above, the Defendant did not seek any privileged

information, only the identity of the persons involved in the alleged incidents in order to

prepare a defense. There can be little question that the interrogatories properly come

within the scope of permissible discovery.

       B. Boilerplate objections.

       The United States responded to the Defendant’s Interrogatories with eighteen

                                              -6-




      Case 1:12-cv-01349-TDS-JLW Document 25 Filed 05/31/13 Page 6 of 8
boilerplate objections which do not relate directly to any particular interrogatory. The

Plaintiff also states five additional boilerplate objections in each of its responses to the

individual interrogatories which are the subject of the Motion to Compel. The only

particularized objection made by the Plaintiff is the Informant Privilege discussed above.

This Court has previously held that boilerplate objections to discovery are invalid. When

boilerplate objections are made in lieu of valid objections, any valid objections to

discovery are waived. Kinetic Concepts, Inc. v. ConvaTec Inc., 268 F.R.D. 226, 247

(M.D.N.C. 2010). Therefore, these boilerplate objections by the United States do not

provide a basis for refusing to answer the Interrogatories propounded by the Defendant.

                                       CONCLUSION

       Based on the foregoing, the objections to the Interrogatories propounded by the

Defendant have no merit. The Plaintiff should be properly ordered to fully answer the

Interrogatories as requested by the Defendant’s motion.

       Respectfully submitted, this the 31st day of May, 2013.

                                                    Turrentine Law Firm, PLLC


                                                    by: /s/ S. C. Kitchen
                                                    S. C. Kitchen
                                                    NC Bar No. 9309
                                                    920-B Paverstone Dr.
                                                    Raleigh, NC 27615
                                                    Telephone: (888) 308-3708
                                                    Fax:           (888) 308-3614
                                                    Email: ckitchen@turrentinelaw.com

                                              -7-




      Case 1:12-cv-01349-TDS-JLW Document 25 Filed 05/31/13 Page 7 of 8
                              CERTIFICATE OF SERVICE

       I, S. C. Kitchen, hereby certify that on May 31, 2013, I filed this document with

the U.S. District Court’s electronic Filing (ECF) system, which will serve a copy by email

to counsel, and further that for counsel who are not listed in the ECF system, I served a

copy of the foregoing document on the counsel in this action by placing the same in the

United States Mail, postage affixed:


       Samantha K. Trepel
       U. S. Department of Justice
       950 Pennsylvania Ave., N.W.
       Washington, DC 20530
       Email: samantha.trepel@usdoj.gov

       This the 31st day of May, 2013.


                                                  Turrentine Law Firm, PLLC


                                                  by: /s/ S. C. Kitchen
                                                  S. C. Kitchen
                                                  NC Bar No. 9309
                                                  920-B Paverstone Dr.
                                                  Raleigh, NC 27615
                                                  Telephone: (888) 308-3708
                                                  Fax:           (888) 308-3614
                                                  Email: ckitchen@turrentinelaw.com




                                            -8-




      Case 1:12-cv-01349-TDS-JLW Document 25 Filed 05/31/13 Page 8 of 8
